ANDREA T. MARTINEZ, Acting United States Attorney (#9313)                   OPR
ARTHUR J. EWENCZYK, Special Assistant United States Attorney (NY #5263785)
RICHARD M. ROL WING, Special Assistant United States Attorney (OH #0062368)
JOHN E. SULLIVAN, Senior Litigation Counsel, Tax Division (WI #1018849)
Attorneys for the United States of America
111 South Main Street, #1800
Salt Lake City, Utah 84111
Telephone: (801) 524-5682
Email: arthur.j .ewenczyk@usdoj.gov
        richard.m.rolwing@usdoj.gov
        john.e.sullivan@usdoj.gov
                                                                       SEAL ED

                       IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                        Case No. 2:21-cr-00140-JNP

                     Plaintiff,                  SUPERSEDING INDICTMENT

       v.                                        Viols.

SEZGIN BARAN KORKMAZ,                            Count 1- 18 U.S.C. § 1956(h) (Conspiracy
                                                 to Commit Money Laundering Offenses)
                     Defendant.
                                                 Counts 2 thru 11- 18 U.S.C. § 1343 (Wire
                                                 Fraud)

                                                 Count 12-18 U.S.C. § 1512(c)(2)
                                                 (Obstruction of an Official Proceeding)

                                                 Forfeiture


       The Grand Jury charges:

       At times relevant to this Superseding Indictment:

                                  Defendant and His Entities

        1.    Defendant SEZGIN BARAN KORKMAZ ("KORI<MAZ") was a resident of

Turkey, was the 100% owner of the following entities, and controlled bank accounts maintained
in the names of these entities in the following countries:




                           SBK Holding A.S.                         Turkey
              Biofarma Ilac San. ve Tic. A.S. ("Biofarma")
                                                                    Turkey
                       also known as Bio harma
                              Isanne S.a.r.l.                    Luxembourg

                   Other Bank Accounts Controlled by Defendant Korkmaz

        2.      Defendant KORKMAZ also controlled, either directly or through associates, other

bank accounts in Turkey maintained in the following names:

                Komak Isi Yalitim Sistemleri Sanayi ve Tic. L.S. ("Komak");

                Setap Telmoloji Sistemleri Sanayi ve Tic. A.S. ("Setap");

                Blane Telmoloji Sistemleri Sanayi ve Tic. A.S. ("Blane");

                Mega Varlik Yonetim A.S. ("Mega Varlik");

                Jacob Kingston; and

                Alptekin Yilmaz.

                                    Other Persons and Entities

        3.      Jacob Kingston was a resident of Utah and owned 50% of Washakie Renewable

Energy, LLC ("Washakie"). He was the chief executive officer of Washakie.

        4.      Isaiah Kingston was a resident of Utah and owned 50% of Washakie. He was the

chief financial officer of Washakie.

         5.     Washakie was a limited liability company with corporate offices in Salt Lake

City, Utah. As of January 7, 2013, Washakie described itself on its website as "Utah's largest

producer of clean burning and sustainable biodiesel." As ofNovember 10, 2013, Washakie

described itself on its website as "the largest producer of biodiesel and chemicals in the

                                                  2
intermountain west."

        6.     United Fuel Supply ("UFS") was a limited liability company with corporate

offices in Salt Lake City, Utah. UFS was controlled by Jacob Kingston and Isaiah Kingston.

        7.     Levon Termendzhyan, also known as Lev Aslan Dermen, was a resident of

California. He had an interest in or controlled several fuel-related companies in the United

States, including:

               Noil Energy Group Inc., a corporation with offices in California
                  ("Noil Energy Group");

               Speedy Lion Renewable Fuel Investments LLC
                  (formerly Speedy Lion Renewable Fuel Investments Inc.)
                  ("Speedy Lion"); and

               G.T. Energy LLC ("G.T. Energy").

        8.     SBK Holdings, Inc., later SBK Holdings USA, Inc. ("SBK Holdings USA"), was

a corporation formed in California in December 2013 initially owned by Levon Termcndzhyan

and Jacob Kingston. Levon Termendzhyan controllec;l SBK Holdings USA's bank accounts and

became the sole owner of the entity in or around September 2014.

                          Proceeds From Specified Unlawful Activity

        9.      The term "proceeds from specified unlawful activity" means any property derived

from or obtained or retained, directly or indirectly, through specified unlawful activity, including

the proceeds of such activity. "Specified unlawful activity" includes mail fraud in violation of

18 U.S.C. § 1341 and conspiracy to commit mail fraud in violation of 18 U.S.C. § 1349.

         10.    Beginning in or about the fall of 2011 and continuing up to at least February

2016, Jacob Kingston, Isaiah Kingston, and Levon Termendzhyan conspired to commit mail

fraud by scheming to fraudulently obtain U.S. Treasury checks from the IRS by filing false

claims for refundable renewable fuel credits. Pursuant to the scheme, Jacob Kingston, Isaiah


                                                 3
Kingston, and Levon Termendzhyan caused Washakie Renewable Energy and United Fuel

Supply to file over $1 billion of false claims with the IRS. As a result of these false claims, the

IRS issued U.S. Treasury checks to Washakie totaling approximately $470 million that Washakie

and UFS were not entitled to receive. This scheme is hereinafter referred to as the "Washakie

Mail Fraud Scheme."

        11.      Jacob Kingston and Isaiah Kingston, at the direction of Levon Termendzhyan and

Defendant KORKMAZ, caused Washakie to wire transfer approximately $133 million of fraud

proceeds from the Washakie Mail Fraud Scheme to bank accounts in Luxembourg and Turkey

that were controlled by Defendant KORKMAZ.

                                           Count 1
                                      18 U.S.C. § 1956(h)
                      (Conspiracy to Commit Money Laundering Offenses)

        12.      Paragraphs 1-11 are incorporated by reference and re-alleged as though fully set

forth herein.

                                           The Conspiracy

        13.      From in or about March 2013, and continuing at least through in or about

December 2020, in the Central Division of the District of Utah and elsewhere, the defendant,

                                  SEZGIN BARAN KORKMAZ,

did lmowingly combine, conspire, and agree with other persons both lmown and unlmown to the

Grand Jury, including Levon Termendzhyan, a co-conspirator not named as a defendant herein,

to commit offenses against the United States in violation of Title 18, United States Code, Section

1956, that is:

        a.       to transport, transmit, and transfer, and attempt to transport, transmit, and transfer

a monetary instrument or funds involving the proceeds of specified unlawful activity, that is, the



                                                   4
proceeds of the Washakie Mail Fraud Scheme, in violation of Title 18, United States Code,

Section 1341, from a place in the United States to or through a place outside the United States or

to a place in the United States from or through a place outside the United States, in violation of

Title 18, United States Code, Section 1956(a)(2)(B)(i), knowing that the funds involved in the

transportation, transmission and transfer represented the proceeds of some form of unlawful

activity and knowing that such transportation, transmission, and transfer was designed in whole

or in part to conceal and disguise the nature, location, source, ownership, and control of the

proceeds of specified unlawful activity; and

       b.      to knowingly conduct and attempt to conduct financial transactions affecting

interstate commerce, which transactions involved the proceeds of specified unlawful activity,

that is, the proceeds of the Washakie Mail Fraud Scheme, in violation of Title 18, United States

Code, Section 1341, knowing that the transactions were designed in whole or in part to conceal

and disguise the nature, location, source, ownership, and control of the proceeds of said specified

unlawful activity, in violation of Title 18, United States Code, 1956(a)(l)(B)(i), and that while

conducting or attempting to conduct such transactions, knew that the property involved in the

transactions represented the proceeds of some form of unlawful activity.

                                       Manner and Means

        14.    Among the manner and means by which Defendant K.ORKMAZ and his co-

conspirators would and did carry out the objectives of the conspiracy were the following:

               a.      They transferred, and caused to be transferred, proceeds of the Washakie

Mail Fraud Scheme ("Fraud Proceeds") from Washakie's bank accounts in the United States to

bank accounts located in Turkey and Luxembourg that were controlled by Defendant

K.ORKMAZ.



                                                  5
               b.     After transferring Fraud Proceeds to bank accounts in Turkey and

Luxembourg, they transferred, and caused to be transferred, Fraud Proceeds back to the United

States to bank accounts in Los Angeles that were controlled by Levon Termendzhyan.

               c.     They used bank accounts located in Turkey, including accounts in the

names of Biofarma and Alptekin Yilmaz, to transfer Fraud Proceeds for the purpose of

concealing and disguising the true nature and source of the funds being transferred.

               d.     They used bank accounts located in Turkey, including accounts in the

names of Jacob Kingston and companies owned in Kingston's name, including Setap and Mega

Varlik, to transfer Fraud Proceeds for the purpose of concealing and disguising the true nature

and source of the funds being transferred.

               e.     They had Jacob Kingston execute powers of attorney forms providing

control over his bank accounts and companies in Turkey to Defendant KORKMAZ's associates,

through which Defendant KORKMAZ controlled these accounts and companies.

               f.     They characterized the transfers of Fraud Proceeds as loans, share

purchases, and loan paybacks for the purpose of concealing and disguising the true nature and

source of the funds being transferred.

               g.     They transferred, and caused to be transferred, Fraud Proceeds from bank

accounts in the United States to bank accounts in Turkey and Luxembourg, and from bank

accounts in Turkey and Luxembourg to bank accounts in the United States, including at least 30

transfers totaling $301,315,477 on the dates and in the amounts set forth in the table below

between the listed sender and recipient:




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A.            09/09/13           Washakie (USA)                                                                                      $4,000,000
                                                                                                 (Turkey)
                                                                                                  Komak
B.            09/09/13           Washakie (USA)                                                                                      $5,000,000
                                                                                                 (Turkey)
                                       Komak                                                    Speedy Lion
C.            09/12/13                                                                                                                                                              $4,999,964
                                      (Turkey)                                                    (USA)
                                       Komak                                                    Speedy Lion
D.            09/17/13                                                                                                                                                              $1,999,964
                                      (Turkey)                                                     (USA)
                                       Komak                                                    Speedy Lion
E.             09/19/13                                                                                                                                                             $1,999,964
                                      (Turkey)                                                     (USA)
                                                                                       SBK Holding Turkiye
F.             11/13/13          Washakie (USA)                                                                                      $10,000,000
                                                                                            (Turkey)
                                                                                                  Komak
G.             12/31/13          Washakie (USA)                                                                                      $13,000,000
                                                                                                 (Turkey)
                                Komak Isi Y alitim                                              Speedy Lion
H.             01/21/14                                                                                                                                                             $9,000,000
                                 Siste (Turkey)                                                    (USA)
                                                                                         Jacob Kingston
I.             03/12/14          Washakie (USA)                                                                                      $10,000,000
                                                                                            (Turkey)
                                                                                   Teknoloji Sistemleri San
J.             03/24/14          Washakie (USA)                                                                                       $4,055,700
                                                                                      Ve Tic (Turkey)
                                                                                   Teknoloji Sistemleri San
K.             03/24/14          Washakie (USA)                                                                                       $5,000,000
                                                                                      Ve Tic (Turkey)
                                                                                   Teknoloji Sistemleri San
L.             05/09/14          Washakie (USA)                                                                                       $2,000,000
                                                                                      Ve Tic (Turkey)
                                                                                   Turkiye Garanti Bankasi
M.             04/28/15           Washakie (USA)                                                                                     $15,000,000
                                                                                        AS (Turkey)
                                                                                           Isanne SARL
N.             05/19/15           Washakie (USA)                                                                                     $35,000,000
                                                                                           (Luxembourg)
                                                                                            Isanne SARL
0.             05/27/15           Washakie (USA)                                                                                     $21,300,000
                                                                                           (Luxembourg)
                                  Alptekin Yilmaz                                               Speedy Lion
P.                 06/22/15
                                     (Turkey)                                                      (USA)
                                                                                                                                                                                         $6,999,950

                                  Alptekin Yilmaz                                               Speedy Lion
Q.                 06/23/15                                                                                                                                                     $12,999,950
                                     (Turkey)                                                      (USA)
                                    Isanne SARL                                         SBK Holdings USA
R.                 07/03/15                                                                                                                                                     $15,000,000
                                   (Luxembourg)                                              (USA)


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                                          Speedy Lion                           Alptekin Yilmaz
s.            10/27/15
                                             (USA)                                 (Turkey)
                                                                                                                   $6,999,950

                                          Speedy Lion                           Alptekin Yilmaz
T.            10/28/15                                                                                          $12,999,950
                                             (USA)                                 (Turkey)
                                        Alptekin Yilmaz                              G.T. Energy
u.                11/03/15
                                           (Turkey)                                    (USA)
                                                                                                                                                   $19,999,950

                                                                                Jacob Kingston
V.                12/14/15              Washakie (USA)                                                             $2,100,000
                                                                                   (Turkey)
                                                                                Jacob Kingston
w.                12/28/15              Washakie (USA)
                                                                                   (Turkey)
                                                                                                                   $6,900,000

                                       Noil Energy Group                        SBK Holding AS
X.             02/17/16                                                                                            $3,885,135
                                             (USA)                                 (Turkey)
                                       N oil Energy Group                              Komak
Y.                03/22/16                                                                                         $3,810,000
                                              (USA)                                   (Turkey)
                                          G.T. Energy                           SBK Holding AS
z.                06/09/16
                                            (USA)                                  (Turkey)
                                                                                                                 $23,000,000

                                        SBK Holding AS                               G.T. Energy
AA.               06/10/16                                                                                                                         $23,000,000
                                           (Turkey)                                    (USA)
                                       SBK Holdings USA                         SBK Holding AS
BB.                10/21/16                                                                                        $6,000,000
                                            (USA)                                  (Turkey)
                                       SBK Holdings USA                         SBK Holding AS
CC.                11/08/16                                                                                      $15,000,000
                                            (USA)                                  (Turkey)
                                       SBK Holdings USA                         SBK Holding AS
DD.                11/08/16                                                                                           $265,000
                                            (USA)                                  (Turkey)


                                                                                          Totals               $205,315,735                        $95,999,742

                                  h.          They used Fraud Proceeds to buy various companies, some of which they

     later sold.


                                  1.          They used Fraud Proceeds to invest in various companies, including 1)

     pharmaceutical companies in Turkey called Biofarma and Munir Sahin; 2) technology

     companies in Turkey called Servus, which later became Setap, and even later Blane; 3) an asset



                                                                                      8
management company in Turkey called Mega Varlik; 4) holding companies in Turkey called

Bukombin and Bugaraj, which were used to acquire a Turkish airline called Borajet; and 5) an

aviation company in Turkey named Aydin Jet, which later was changed to SBK Air.

                j.     They used Fraud Proceeds to acquire other assets, including real property

in Turkey, a hotel in Turkey, a hospital in Turkey, two hotels in Switzerland, a yacht named the

Queen Anne, an airline, a jet, and a villa and an apartment on the Bosphorus in Istanbul, Turkey.

       All in violation of Title 18, United States Code, Section 1956(h).

                                         Counts 2 thru 11
                                         18 u.s.c. § 1343
                                          (Wire Fraud)

        15.      Paragraphs 1-11 are incorporated by reference and re-alleged as though fully set

forth herein.

                                       Scheme to Defraud

        16.     From in or about December 2017, and continuing at least through in or about

August 2018, in the Central Division of the District of Utah and elsewhere, the defendant,

                                 SEZGIN BARAN KORKMAZ,

with other persons both known and unknown to the Grand Jury, having knowingly devised and

intending to devise a scheme and artifice to defraud, and for obtaining money and property from

Jacob Kingston and Isaiah Kingston by means of false and fraudulent pretenses, representations,

and promises, to wit, a scheme to defraud Jacob Kingston and Isaiah Kingston by falsely

representing that Defendant KORKMAZ, through unnamed government officials code-named

the "grandfather" and "grandpa," could provide Jacob Kingston and Isaiah Kingston protection

from a federal grand jury investigation, as well as civil lawsuits against Washakie, and for the

purpose of executing such scheme and artifice and attempting so to do, did transmit and cause to



                                                 9
be transmitted by means of wire and radio communications in interstate and foreign commerce,

writings, signs, signals, pictures, and sounds.

         17.   As part of his fraudulent scheme, Defendant KORKMAZ caused the following

text messages and images to be sent on the following dates to the following recipients:




                                             "You just got an order from washington to help me
   a.      02/26/18        Witness A
                                             with this."
                                             "I had helped you solve the Lion brain problems
   b.      02/26/18        Witness A
                                             before."

   C.      02/26/18        Witness A         [Photo of former U.S. Government official]

                                             "You work for the American State and Countess
   d.      02/26/18        Witness A
                                             Fuller."

   e.      06/12/18      Jacob Kingston      "Hi grandpa talked, everything is fine now"

                                             "But Because I didn't send the money he will punish
    f.     06/12/18      Jacob Kingston
                                             you after the job"

   g.      06/12/18      Jacob Kingston      "The judge is a good guy"

   h.      06/12/18      Jacob Kingston      "He will not disappoint the grandpa"

    1.     06/14/18      Jacob Kingston      "Little time left"

                                             "the grandfather called now. It has to be done in 5
   J.      06/14/18      Jacob Kingston
                                             days. last chance"

   k.      06/20/18      Jacob Kingston      "Plan?"

    1.     06/20/18      Jacob Kingston      "grandpa personnel in here"

   m.      06/20/18      Jacob Kingston      "Wait for the money"

                                             [Wire instructions for an account at Turk Ekonomi
   n.      06/21/18      Jacob Kingston      Bankasi in the name of Stone Isi Yalitim Sanayi ve
                                             Ticaret A.S.]



                                                  10
   0.     08/09/18      Jacob Kingston      "Today is the last day$"

   p.     08/09/18      Jacob Kingston      "Deposit to this account number"

                                            [Wire instructions for an account at Akbank in the
   q.     08/09/18      Jacob Kingston      name of Blane Teknoloji Sistemleri Sanayi ve
                                            Ticaret A.S.]

   r.     08/14/18      Jacob Kingston      "Grandpa big problem [siren emoji] $"


        18.    On or about the dates set forth below, in the Central "Division of the District of

Utah and elsewhere, Defendant KORKMAZ, for the purpose of executing the above-described

scheme to defraud, transmitted and caused others to transmit funds via the following wire

transfers, from the following senders, to the following recipients, in the following amounts, by

means of wire communications in interstate and foreign commerce, with each wire transfer

constituting a separate count:


                                                        > ft~~rni~ttf!
                                                       Turkiye Garanti Ban
    2      02/12/18         Washakie                                                    $1,000,000
                                                      Jacob Ortell Kingston
                                                       Turkiye Garanti Ban
    3      02/13/18         Washakie                                                    $1,000,000
                                                      Jacob Ortell Kingston
                                                       Turkiye Garanti Ban
    4      05/07/18    United Fuel Supply                                                 $350,000
                                                      Jacob Ortell Kingston
                                                       Turkiye Garanti Ban
    5      05/08/18    United Fuel Supply                                                 $400,000
                                                      Jacob Ortell Kingston
                                                    Turk Ekonomi Bankas
    6      06/21/18    United Fuel Supply                                                 $250,000
                                              Stone Isi Yalitim Sanayi Ve Ticare
                                                    Turk Ekonomi Bankas
    7      06/28/18    United Fuel Supply                                                 $100,000
                                              Stone Isi Yalitim Sanayi Ve Ticare
                                                    Turk Ekonomi Bankas
    8      07/18/18    United Fuel Supply                                               $1,500,000
                                              Stone Isi Yalitim Sanayi Ve Ticare



                                                 11
                                                    Turk Ekonomi Bankas
    9      08/06/18   United Fuel Supply                                                 $100,000
                                              Stone Isi Yalitim Sanayi Ve Ticare
                                                    Turk Ekonomi Bankas
   10      08/08/18   United Fuel Supply                                                 $100,000
                                              Stone Isi Yalitim Sanayi Ve Ticare
                                                        Akbank Tas
   11      08/15/18   United Fuel Supply                                               $1,200,000
                                              Blane Teknoloji Sistemleri Sanayi


                                                             Total                      $6,000,000

        All in violation of Title 18, United States Code, Section 1343.

                                           Count12
                                     18 U.S.C. § 1512(c)(2)
                             (Obstruction of an Official Proceeding)

        19.     Paragraphs 1-11 are incorporated by reference and re-alleged as though fully set

forth herein.

        20.     From on or about April 29, 2019, to on or about April 30, 2019, in the Central

Division of the District of Utah and elsewhere, the defendant,

                                 SEZGIN BARAN KORKMAZ,

did knowingly, intentionally and corruptly obstruct, influence, and impede, and attempt to do so,

an official proceeding, to wit, United States ofAmerica v. Jacob Kingston, et al., Case No. 2: l 8-

cr-00365, a criminal case filed in the United States District Court for the District of Utah, by

making false statements during an interview conducted by attorneys with the U.S. Department of

Justice, Tax Division, and special agents with the Internal Revenue Service and Environmental

Protection Agency, to wit:

                a.     KORMAZ falsely stated that Jacob Kingston never told KORKMAZ that

Kingston was under criminal investigation.

                b.     KORKMAZ falsely stated that he sent funds from Komak in Turkey to the


                                                 12
United States because Jacob Kingston called him and told him that they found cheaper

machinery in the United States and, therefore, Kingston wanted KORKMAZ to send the money

back to the United States;

                 c.     KORKMAZ falsely stated that he told Jacob Kingston that KORKMAZ

was sending the funds to Levon Termendzhyan to purchase cheaper equipment.

                 d.     KORKMAZ falsely stated that he used his own money to make a $20

million loan to Levon Termendzhyan through Alptekin Yilmaz in June 2015.

                 e.     KORKMAZ falsely stated that Levon Termendzhyan repaid this $20

million loan with interest three months later.

                 f.      KORKMAZ falsely stated that he did not recall what the purpose was of a

$1.2 million wire transfer sent by United Fuel Supply to Blane, and that he would ask Blane

what it was about and for supporting documents.

                 g.      KORKMAZ falsely stated that Levon Termendzhyan did not own any part

of the Queen Anne yacht, and that he had just used his name when he registered it in the United

States.

          All in violation of Title 18, United States Code, Section 1512(c)(2).

                         NOTICE OF INTENT TO SEEK FORFEITURE

          1.     Pursuant to 18 U.S.C. § 982(a)(l), upon conviction of any offense in violation of

18 U.S.C. § 1956, Defendant SEZGIN BARAN KORKMAZ shall forfeit to the United States of

America any property, real or personal, involved in such offenses, and any property traceable to

such property. The property to be forfeited includes, but is not limited to, the following:

                 a.      Any and all investments made using proceeds, and any gains from those

investments, including investments in Biofarma Ilac San. ve Ticaret A.S., Blane Teknoloji



                                                   13
Sistemleri Sanayi ve Ticaret A.S. (formerly known as Servus and as Setap Teknoloji Sistemleri

Sanayi ve Ticaret A.S.), Mega Varlik Yonetim A.S., including investments by SBK Holding

A.S. in Turkey;

               b.      The yacht named the Queen Anne, refitted by Pina Marin in 2018, Hull

Number Renewal No. DLZ76014G717, International Maritime Organization No. 9704958,

Maritime Mobile Service Identity No. 518100712, and call sign E5U3623;

               c.      A MONEY filDGMENT equal to the value of all property involved in the

money laundering and not available for forfeiture for one or more of the reasons listed in 21

U.S.C. § 853(p) as a result of any act or omission of the defendant; and

               d.      Substitute property as allowed by 21 U.S.C. § 853(p) via 28 U.S.C. §

2461(c).

       GRAND JURY'S PROBABLE CAUSE FINDING REGARDING FORFEITURE

       The grand jury finds probable cause to believe that Defendant SEZGIN BARAN

KORKMAZ has committed the crimes specified in the above forfeiture notice and that the above

properties listed for forfeiture constitute or are derived from proceeds traceable to the Washakie

Mail Fraud Scheme described in Paragraphs 9 and 10, and thus are connected to the money

laundering conspiracy in Count 1 as property involved in such conspiracy or property traceable

to the property involved in the conspiracy.

       2.      Pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c), upon conviction of

any offense in violation of 18 U.S.C. § 1343, Defendant SEZGIN BARAN KORKMAZ shall

forfeit to the United States of America any property, real or personal, that constitutes or is

derived from proceeds traceable to such offenses. The property to be forfeited includes, but is

not limited to, the following:



                                                 14
               a.     Any funds transferred to the personal account of Jacob Kingston in Turkey

under the control of KORK.MAZ and his associates, to Stone Isi Yalitim Sanayi Ve Ticare A.S.,

and to Blane Teknoloji Sistemleri Sanayi ve Ticaret A.S., and any real or personal property

acquired as a result of these transfers, including any and all investments made using proceeds,

and any gains from those investments;

               b.     The yacht named the Queen Anne, refitted by Pina Marin in 2018, Hull

Number Renewal No. DLZ76014G717, International Maritime Organization No. 9704958,

Maritime Mobile Service Identity No. 518100712, and call sign E5U3623;

               c.     A MONEY JUDGMENT equal to the value of all property involved in the

wire fraud scheme and not available for forfeiture for one or more of the reasons listed in 21

U.S.C. § 853(p) as a result of any act or omission of the defendant; and

               d.      Substitute property as allowed by 21 U.S.C. § 853(p)_via 28 U.S.C. §

2461(c).

                                              A TRUE BILL:



                                              FOREPERSON ~ R A N D JURY

APPROVED:

ANDREA T. MARTINEZ
Acting United States Attorney


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RICHARD M. ROLWING::S
Special Assistant United States Attorney




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